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EXHIBIT C
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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In rer Chapter 11

NEW CENTURY TRS HOLDINGS ’ Case No. 07-10416 (KIC)

INC., a Delaware corporation, et al.,'
fointly Administered
Debtors.

Re: Docket Nag. 1877, 2101 & 2146

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ORDER () DENYING THE MOTION OF POSITIVE SOFTWARE SOLUTIONS, INC.
FOR RELIEF FROM THE STAY REGARDING COPYRIGHT INFRINGEMENT
LITIGATION AND (1) GRANTING THE DEBTORS’ CROSS-MOTION FOR
SANCTIONS FOR VIOLATION OF THE AUTOMATIC STAY

This matter coming before the Court on the Motion of Positive Software Solutions, Inc.
(“PSSI”) for Relief from the Stay Regarding Copyright Infringement Litigation (the “Motion”),
and the Court having reviewed the Motion and the responses thereto by the Creditors Committee
and by the deblors and debtors in possession (the “Debiors”), which response included a Cross
Motion for Sanctions for Violation of the Automatic Stay (the “Cross-Motion”); and the Court
having considered PSSI's reply papers, which included a response to the Cross Motion; and the
Court having heard the statements of counsel regarding the relief requested in the Motion and the

Cross-Motion at a hearing held before the Court on August 7, 2007 (the “Hearnng”); the Court

' ‘The Debtors are the following entities: New Century Financial Corporation ({/d/a New Century REIT,
Inc.), 2 Maryland corporation; New Century TRS Holdings, Inc. (i/k/’a New Century Fimancial Corporation), a
Delaware corporation; New Century Mortgage Corporation (Okla JBE Mortgage) (d/b/a NCMC Mortgage
Corporate, New Century Corporution, New Century Mortgage Ventures, LLC), a California corporation; NC Capital
Corporation, a California corporation, Horne123 Corporation (i/k/a The Anyloan Corporation, 18Q0Qanyloan.com,
Anyloan.com), a Califortda corporation; New Century Credit Corporation (ffk/a Worth Funding Incorporated}, a
California corporation, NC Asset Holding, LP. (i/k/a NC Residual I Corporation), a Delaware limited partnership;
NC Residual 17 Corporation, a Delaware corporation; NC Residual [V Corporation, a Delaware corporation; New
Century R.E.O, Corp., a Califomia corporation; New Cemury R-H.O. Ut Cortp., a California corporation; New
Century R.E.Q, TH Corp., a California corporation; New Century Morigage Ventures, LW (d/b/a Summit Resort
Lending, Total Mortgage Resource, Select Mortgage Group, Monticello Mortgage Services, Ad Astra Mortgage,
Midwest Ilome Mortgage, TRATS Financial Services, Elite Financial Services, Buyers Advantage Mortgage), a
Delaware limited liability company; NC Deltex, LLC, a Delaware limited Hability company; NCoral, 1.P., a
Delaware limited partnership; and New Century Warehouse Corporation, a California corporation.

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finding that (a) the Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and
1334; (b) this is a core proceeding pursuant to 28 U.S.C. § 157(b)(2)(A); and after due
deliberation and sufficient cause appearing therefor,

IT IS HEREBY ORDERED, ADJUDGED, AND DECREED THAT:

1. The Motion is hereby DENIED without prejudice for the reasons set forth on the

record at the Heanng.

2. The Cross-Motion is hereby GRANTED for the reasons set forth on the record at

the Hearing.

3. The Court hereby adopts and incorporates by reference the reasons set forth on
the record at the Hearing as its findings of fact and conclusions of law with respect ta the Motion

and the Cross-Motion.

4, An evidentiary hearing will be held on Oca L-, 2007 at [Ad pom to
determine the amount of the damages to be awarded to the Debtors (“Damages”) on their Cross-

Motion for PSSI’s violations of the automatic stwy (the “Evidentiary Hearing”).

5. Damages shall include the dollar value of reasonable time spent by the Debtors’
bankruptcy counsel and their counsel in the Texas District Court case in connection with
violations of the stay. The Debtors may offer proof of other asserted damages for the Court’s

consideration at the Evidentiary Hearing.

6. The Debtors shall file one or more affidavits or declarations on or before xo WY] ?

2007, selling forth the damages they seek to prove at the Evidentiary Hearing. Any objections

shall be filed on or efor MAS, 2007,

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7. This Court shalt retain jurisdiction over all matters arising from or related (o the
interpretation of implementation of this Order.

SO ORDERED,

this Ef day of August, 2007

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